Case 9:20-cv-81175-AHS Document 1-1 Entered on FLSD Docket 07/17/2020 Page 1 of 1



  -----Original Message-----
  From: Sanne Unger [mailto:sanne.majorca@gmail.com]
  Sent: Monday, March 09, 2020 4:07 PM
  To: Daniel Johnson, Secretary; David Schwartz; Laureen Weaver
  Cc: B. Fletcher, VP Fair Housing Center of the Greater Palm Beaches
  Subject: Reasonable Accommodation Request

  Mr. Schwartz, Ms. Weaver, Mr. Johnson,

  My husband Steven has a physical disability that limits his mobility, and he is therefore unable to attend
  monthly HOA board meetings and has limited access to the community mailboxes. I am requesting a
  reasonable accommodation be made for him.

  Please e-mail either a recording of the board meetings, or a transcript of the monthly board meeting
  minutes to sama59@gmail.com immediately after the meetings occur. Please e-mail all community
  announcements, agendas, notifications, surveys, homeowner correspondence, and any other
  community-related mailings to sama59@gmail.com.

  Kindly respond to my request within seven (7) business days. Thank you for your time and consideration,
  I look forward to receiving your response.

  Sanne Unger
  5205 Majorca Club Drive




                                              Exhibit A
